 Case 23-14366-JNP                 Doc 35 Filed 12/24/23 Entered 12/25/23 00:15:23                         Desc Imaged
                                        Certificate of Notice Page 1 of 4




UNITED STATES BANKRUPTCY COURT
DISTRICT OF NEW JERSEY                                                  Order Filed on December 22, 2023
                                                                        by Clerk
                                                                        U.S. Bankruptcy Court
Caption in Compliance with D.N.J. LBR 9004-1(b)                         District of New Jersey
UNITED STATES DEPARTMENT OF JUSTICE
OFFICE OF THE UNITED STATES TRUSTEE
ANDREW R. VARA
UNITED STATES TRUSTEE, REGIONS 3 & 9
Lauren Bielskie, Esquire
One Newark Center, Suite 2100
Newark, NJ 07102
Telephone: (973) 645-3014
Facsimile: (973) 645-5993
Email: Lauren.Bielskie@usdoj.gov
In Re:                                                    Case No.: 23-14366 (JNP)

David D. Borges,                                          Chapter 7


Debtors.                                                  Judge: The Honorable Jerrold N. Poslusny, Jr.


           CONSENT ORDER EXTENDING TIME TO FILE A MOTION TO DISMISS CASE
             UNDER 11 U.S.C. § 707(b)(1) AND (3) AND EXTENDING TIME TO FILE A
               COMPLAINT OBJECTING TO DISCHARGE UNDER 11 U.S.C. § 727

         The relief set forth on the following pages, numbered two (2) is hereby ORDERED.




          DATED: December 22, 2023
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   (Page 2)                      Certificate of Notice Page 2 of 4
   Debtors: David D. Borges
   Chapter 7 Case No.: 23-14366 (JNP)
   Consent Order Extending Time to File a Motion to Dismiss Case Under 11 U.S.C. § 707(b)(1)
   and (3) and Extending Time to File a Complaint Objecting to Discharge Under 11 U.S.C. §
   727


           THIS MATTER having been consensually opened to the Court and agreed upon by and

   between Andrew R. Vara, United States Trustee, by and through his counsel Lauren Bielskie, Esq.,

   and Brad J. Sadek, Esq. counsel for the Debtor, David D. Borges, Jr., and for other good cause

   shown, it is hereby

           ORDERED that any motion by the United States Trustee to dismiss the present Chapter 7

   case under 11 U.S.C. § 707(b)(1) and (3) or any complaint objecting to discharge under 11 U.S.C.

   § 727 by the United States Trustee and/or Chapter 7 Trustee must be filed on or before February

   20, 2024; and it is further;

           ORDERED that the United States Trustee and/or Chapter 7 Trustee reserves his right to

   seek a further extension of the time to file a motion pursuant to 11 U.S.C. § 707(b)(1) and (3) or

   any complaint objecting to discharge under 11 U.S.C. § 727.




   The form and entry of the order is                          Without Objection:
   hereby acknowledged and agreed to:


                                                               Andrew R. Vara
   Attorney for the Debtor                                     United States Trustee, Regions 3 & 9


   By:     /s/ Brad J. Sadek                                   By:   /s/ Lauren Bielskie
            Brad J. Sadek, Esq.                                        Lauren Bielskie, Esq.
           Attorney for the Debtor                                      Trial Attorney
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                                                              United States Bankruptcy Court
                                                                  District of New Jersey
In re:                                                                                                                 Case No. 23-14366-JNP
David D. Borges                                                                                                        Chapter 7
       Debtor
                                                     CERTIFICATE OF NOTICE
District/off: 0312-1                                                  User: admin                                                                 Page 1 of 2
Date Rcvd: Dec 22, 2023                                               Form ID: pdf903                                                            Total Noticed: 1
The following symbols are used throughout this certificate:
Symbol          Definition
+                Addresses marked '+' were corrected by inserting the ZIP, adding the last four digits to complete the zip +4, or replacing an incorrect ZIP. USPS
                 regulations require that automation-compatible mail display the correct ZIP.


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on Dec 24, 2023:
Recip ID                 Recipient Name and Address
db                     + David D. Borges, 1107 Delsea Drive, Westville, NJ 08093-2252

TOTAL: 1

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
Electronic transmission includes sending notices via email (Email/text and Email/PDF), and electronic data interchange (EDI).
NONE


                                                       BYPASSED RECIPIENTS
The following addresses were not sent this bankruptcy notice due to an undeliverable address, *duplicate of an address listed above, *P duplicate of a
preferred address, or ## out of date forwarding orders with USPS.
NONE


                                                      NOTICE CERTIFICATION
I, Gustava Winters, declare under the penalty of perjury that I have sent the attached document to the above listed entities
in the manner shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and
belief.

Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed .R. Bank. P.2002(a)(1), a notice containing the
complete Social Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains
the redacted SSN as required by the bankruptcy rules and the Judiciary's privacy policies.

Date: Dec 24, 2023                                            Signature:           /s/Gustava Winters




                                  CM/ECF NOTICE OF ELECTRONIC FILING
The following persons/entities were sent notice through the court's CM/ECF electronic mail (Email) system on December 22, 2023 at the address(es) listed
below:
Name                               Email Address
Andrew Finberg
                                   on behalf of Trustee Andrew Finberg trustee@sjbankruptcylaw.com J117@ecfcbis.com;jaimie@sjbankruptcylaw.com

Andrew Finberg
                                   trustee@sjbankruptcylaw.com J117@ecfcbis.com;jaimie@sjbankruptcylaw.com

Brad J. Sadek
                                   on behalf of Debtor David D. Borges bradsadek@gmail.com
                                   bradsadek@gmail.com;sadek.bradj.r101013@notify.bestcase.com;jeanie@sadeklaw.com;service@sadeklaw.com

Charles G. Wohlrab
                                   on behalf of Creditor Fay Servicing LLC, as servicer for U.S. Bank Trust National Association, not in its individual capacity, but
                                   solely as Trustee of LSF11 Master Participation Trust bkecf@friedmanvartolo.com, cwohlrab@ecf.courtdrive.com

Jason Brett Schwartz
                                   on behalf of Creditor Fay Servicing LLC, as servicer for U.S. Bank Trust National Association, not in its individual capacity, but
                                   solely as Trustee of LSF11 Master Participation Trust bkecf@friedmanvartolo.com, bankruptcy@friedmanvartolo.com
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District/off: 0312-1                                        User: admin                           Page 2 of 2
Date Rcvd: Dec 22, 2023                                     Form ID: pdf903                      Total Noticed: 1
Lauren Bielskie
                          on behalf of U.S. Trustee U.S. Trustee lauren.bielskie@usdoj.gov

U.S. Trustee
                          USTPRegion03.NE.ECF@usdoj.gov


TOTAL: 7
